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March 2, 2022
Honorable Mitchell S. Goldberg
United States District Court
Eastern District of Pennsylvania
James F. Byrne
Room 17614
601 Market Street
Philadelphia, PA 19106-1797

RE: Brianna Donahue v. City of Philadelphia, et al
U.S.D.C. No. 21-cv-03433

Dear Honorable Judge Goldberg:

I write to inform Your Honor that this matter has settled. I thank you for your attention
to this case.

Please have your staff contact me if you need anything further.

Sincerely,
ee :
a —

 

Z Ad. Thotmson

Counsel for Plaintiff

cc: Tara Fung, Esquire via ECF

Bill Banton, Esquire via ECF

 

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